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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- X
                                                                 :
 UNITED STATES OF AMERICA,
                                                                 :
                           – against –                          : MEMORANDUM DECISION AND
                                                                  ORDER
                                                                :
 MARTIAL H. AMILCAR,                                              23-CR-18 (AMD)
                                                                :
                                         Defendant.             :
 --------------------------------------------------------------- X
 ANN M. DONNELLY, United States District Judge:

           Before the Court is the defendant’s motion to suppress statements he made to law

 enforcement agents, identification testimony, and evidence from the defendant’s Facebook and

 Instagram accounts, obtained pursuant to a search warrant. (ECF No. 32-1.) 1 In the alternative,

 the defendant requests a hearing on his motion to suppress statements and identification

 evidence. As explained below, the motion is denied.

                                                BACKGROUND

           The Charged Offense

           On February 22, 2019, fifteen-year-old Samuel Joseph was shot to death as he was

 leaving his apartment building. (ECF No. 33 at 9.) The defendant was originally charged with

 using a firearm during and in relation to the murder in-aid-of racketeering of Samuel Joseph.

 (ECF No. 1 ¶ 8.) He has since been charged, along with others, with racketeering and murder in-

 aid-of racketeering. (ECF No. 36.)




 1
     The motion includes an unsworn declaration pursuant to 28 U.S.C. § 1746 that is “based on records on
     file in [their] office, discussions with the defendant and other witnesses, independent investigation, and
     discovery provided by the government.” (ECF No. 32-1 at 1, ¶ 3.) “Factual statements” in the
     declaration “are made on information and belief, based on [those] sources.” (Id. ¶ 3.)
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           Statements to Law Enforcement

           The defendant seeks to suppress custodial statements he made to law enforcement agents

 on August 14, 2019, September 11, 2020, and November 24, 2021. (ECF No. 32-1 at 6–7.) The

 government responds that it does not intend to use the August 2019 and November 2021

 statements; with respect to the September 2020 statements, the government asserts that defendant

 waived his Sixth Amendment rights after agents advised him of his constitutional rights, and

 spoke with the agents voluntarily. (ECF No. 33 at 16–17.)

           On about August 14, 2019, an NYPD detective interviewed the defendant at Rikers

 Island — where he was detained on a parole violation for a previous state court conviction

 — about the murder of Samuel Joseph. (ECF No. 32-1 at 2; ECF No. 33 at 10.) The defendant

 refused to speak to the detective. (ECF No. 32-1 at 2; ECF No. 33 at 10–11.)

           On September 11, 2020, the defendant was charged by complaint in the Eastern District

 of New York with possessing a firearm as a convicted felon, in violation of 18 U.S.C. § 922(g).

 See United States v. Martial H. Amilcar, No. 20-CR-378 (E.D.N.Y.). At that point, the

 defendant was being held at Riker’s Island on a state gun charge arising out of the conduct

 charged in the federal complaint. 2 (ECF No. 32-1 at 3.) Federal law enforcement agents arrested

 him at Rikers Island and brought him to 26 Federal Plaza, where federal agents interviewed him

 before his arraignment. (ECF No. 35 at 3.) According to the government, an agent advised the

 defendant of his constitutional rights “[a]t the start of the interview” and the defendant “waived

 his rights and voluntarily spoke with law enforcement.” (ECF No. 33 at 11; ECF No. 33-1 at 3.)

 During the interview that followed, the defendant “admitted his membership in the Hyena Crips



 2
     The defendant was represented by counsel on the state law charge, which was later dismissed because of
     the federal charge. (ECF No. 32-1 at 3; ECF No. 33 at 11.)


                                                      2
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 gang.” (ECF No. 33 at 12 (citing ECF No. 33-1, Sept. 11, 2020 Report of Investigation).) The

 defendant maintains that he “did not knowingly, voluntarily, and intelligently waive his Sixth

 Amendment right to counsel.” (ECF No. 32-1 at 3.) The defendant ultimately pled guilty to the

 felon-in-possession charge. See Amilcar, No. 20-CR-378. On November 5, 2021, Judge Kiyo

 A. Matsumoto sentenced him to twenty three months in prison and three years of supervised

 release. (ECF No. 33 at 12.)

           On November 24, 2021, federal law enforcement agents interviewed the defendant at the

 MDC. (ECF No. 32-1 at 3; ECF No. 33 at 12.) The government maintains that the agents

 “instructed [the defendant] not to make any statements, and then showed him a still image of

 surveillance video from the day of the Samuel Joseph murder;” the defendant “stated, ‘that’s not

 me.’” (ECF No. 33 at 12.) The defendant asserts that the agents “questioned him and made

 other statements designed to elicit incriminating responses, including advising him of the status

 of his brother’s case and showing [him] stills from surveillance video,” but did not advise the

 defendant of his rights “at any point.” (ECF No. 32-1 at 3–4.) 3 The defendant “made several

 statements before informing the agents that he wanted to return to his cell.” (Id. at 4.)

           Out-of-Court Identifications

           The government interviewed three witnesses who identified the defendant from

 “surveillance or other video” (ECF No. 32-1 at 4) “at or around the time” Samuel Joseph was

 murdered (ECF No. 33 at 12).

           On November 4, 2022, federal agents and prosecutors interviewed Witness 1, a “close

 relative” “who has known [the defendant] since birth.” (Id.; see also ECF No. 32-1 at 4.)



 3
     At the time, the defendant’s brother, Martial C. Amilcar, had been charged in the Kings County
     Supreme Court with murdering Samuel Joseph. (ECF No. 33 at 10.)


                                                       3
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 Witness 1 “reviewed several surveillance video clips” from “shortly before and after” the

 murder; Witness 1 “could not see the face of the person” shown in two clips (ECF No. 33 at 12–

 13), but identified the defendant in a third, three-second-long clip (id.; ECF No. 32-1 at 4).

            Witness 2 “is an acquaintance of [the defendant] who has known him for more than 10

 years.” (ECF No. 33 at 13.) 4 In a March 10, 2022 interview with law enforcement, Witness 2

 “recognized [the defendant] in surveillance videos disseminated by the media” after the murder.

 (Id.) On February 2, 2023, Witness 2 watched the same video clip that was shown to Witness 1,

 and also identified the defendant. (Id.; see also ECF No. 32-1 at 4.)

            Witness 3, “a friend” (ECF No. 32-1 at 4) who “previously dated” the defendant (ECF

 No. 33 at 13), initially refused to answer questions about the defendant, but was “compelled to

 testify” before the grand jury by an order of immunity (id.). In the grand jury, Witness 3

 identified the defendant as the person in the surveillance video clip from which Witness 1 and

 Witness 2 identified him. (Id.) 5

            Search Warrant

            On December 28, 2020, Magistrate Judge Cheryl Pollak signed a warrant 6 authorizing the

 government to search 16 social media accounts, including the defendant’s Facebook account



 4
     The government asserts that Witness 2 “met [the defendant] ‘approximately four times’” (ECF No. 35 at
     6 n.2).
 5
     The government showed the witness “a portion of a televised news program” in which “the announcer
     states that [the defendant] is ‘a person [police] are looking for in a fatal shooting of a 15-year-old boy in
     Brooklyn.’” (ECF No. 32-1 at 4.) The news clip “included both surveillance video of an unknown
     person and a still photo (apparently taken from social media) depicting either [the defendant] or his
     brother.” (Id.) The defendant contends that “it is impossible to say” from the transcript of Witness 3’s
     testimony “if [she] identified [the defendant] from the still image or the surveillance video” (id.), but the
     government maintains that “Witness 3 explicitly states in the grand jury proceedings . . . that the witness
     is identifying the defendant from the surveillance video.” (ECF No. 33 at 7 n.3).
 6
     On January 7, 2021, Judge Pollak signed an amended affidavit that corrected a typographical error in the
     identification of Subject Account-17. (See ECF No. 33-4.)


                                                          4
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 (“Subject Account-11”) and Instagram account (“Subject Account-17”), 7 for “evidence, fruits,

 and instrumentalities” of violations of certain federal law offenses. (ECF No. 33-2.) 8 In a

 supporting affidavit, James Grzelak, a Task Force Officer (“TFO”) with the NYPD and

 Homeland Security Investigations’ Violent Gang Task Force, described the Hyena Crips and its

 violent criminal activity. (Id. at 26–27.) TFO Grzelak also explained that police recovered a cell

 phone in connection with a carjacking; the cell phone “contained a June 6, 2020 Facebook audio

 call in which multiple people discussed the rules and structure of the Hyena Crips and the

 criminal activities of the gang.” (ECF No. 33 at 14–15 (citing ECF No. 33-2 at 30–34).) TFO

 Grzelak cited the following facts as probable cause for searching the Facebook and Instagram

 accounts. As for the Facebook account, the defendant participated in the June 6, 2020 Facebook

 call, during which another participant “remind[ed] [him] that they ‘smoked’” (injured) someone.

 (Id. at 15.) In addition, the defendant’s Facebook account included photographs of the defendant

 with “multiple firearms.” (Id.) The defendant used emojis “that are regularly used by members

 and associates of the Hyena Crips,” and commenters to the defendant’s account addressed him as

 “Hyenssss.” (ECF No. 33-2 at 53–55.) The defendant’s Instagram account used the same

 emojis, included a photograph of the defendant making a “gesture used by other known Hyena

 members,” and used the hashtag “#hyenalifestyle.” (Id. at 61, 63.)

           The warrant directed Facebook and Instagram to disclose information, including, for

 example, “[a]ll contact and personal information,” “activity logs,” posts, photos and videos


 7
     Subject Account-17 and the other subject Instagram accounts are “stored at premises owned,
      maintained, controlled, and operated by Facebook Inc.” (ECF No. 33-2 at 12.)
 8
     The subject offenses included 18 U.S.C. §§ 1962 (racketeering and racketeering conspiracy), 1951
     (Hobbs Act robbery), 2119 (carjacking), 922(g) (felon in possession of a firearm), 924(c) (illegal
     possession of firearms during and in relation to crimes of violence), 1343 and 1349 (wire fraud
     conspiracy), as well as 21 U.S.C. § 841 (possession with intent to distribute controlled substances).
     (ECF No. 33-2 at 7–8, 15.)


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 uploaded by the account user, photos and videos in which the user is tagged, “profile

 information,” “stored communications,” location information, IP logs, content that the user has

 “liked,” friends lists, searches, use of Facebook Marketplace, and privacy settings. (Id. at 6–7,

 14–15.) 9 There were time specifications for both accounts — from May 17, 2017 through

 January 7, 2021 for Subject Account-11 and from June 29, 2020 through January 7, 2021 for

 Subject Account-17. (Id. at 4–7, 12–15.) The warrant also permitted law enforcement agents to



 9
     For Subject Account-11, the warrant directed Facebook to disclose:
             (a) All contact and personal identifying information, including full name, user
                 identification number, birth date, gender, contact e-mail address, Facebook
                 passwords, Facebook security questions and answers, physical address (including
                 city, state, and zip code), telephone numbers, screen names, websites, and other
                 personal identifiers; (b) All activity logs for the account and all other documents
                 showing the user’s posts and other Facebook activities; (c) All photos and videos
                 uploaded by that user ID and all photos and videos uploaded by any user that have
                 that user tagged in them; (d) All profile information; News Feed information; status
                 updates; links to videos, photographs, articles, and other items; Notes; Wall postings;
                 friend lists, including the friends’ Facebook user identification numbers; groups and
                 networks of which the user is a member, including the groups’ Facebook group
                 identification numbers; future and past event postings; rejected ‘Friend’ requests;
                 comments; gifts; pokes; tags; and information about the user’s access and use of
                 Facebook applications; (e) All stored communications, including public messages,
                 private messages, group messages, direct shares, stories, chat history, video calls,
                 audio calls, made or received by the user, chat history, video calling history, and
                 pending ‘Friend’ requests; (f) All ‘check ins’ and other location information; (g) All
                 IP logs, including all records of the IP addresses that logged into the account; (h) All
                 records of the Account’s usage of the ‘Like’ feature, including all Facebook posts
                 and all non-Facebook webpages and content that the user has ‘liked’; (i) All
                 information about the Facebook pages that the account is or was a ‘fan’ of; (j) All
                 past and present lists of friends created by the account; (k) All records of Facebook
                 searches performed by the account; (l) All information about the user’s access and
                 use of Facebook Marketplace; (m) The types of service utilized by the user; (n) The
                 length of service (including start date) and the means and source of any payments
                 associated with the service (including any credit card or bank account number); (o)
                 All privacy settings and other account settings, including privacy settings for
                 individual Facebook posts and activities, and all records showing which Facebook
                 users have been blocked by the account; and (p) All records pertaining to
                 communications between Facebook and any person regarding the user or the user’s
                 Facebook account, including contacts with support services and records of actions
                 taken.
     The warrant directed Facebook to disclose identical information from Subject Account-17.


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 seize information related only to the subject offenses involving the 16 named individuals. (Id. at

 6–8, 15–16.)

                                        LEGAL STANDARD

        Fourth Amendment

        The Fourth Amendment provides that “a warrant may not be issued unless probable cause

 is properly established and the scope of the authorized search is set out with particularity.”

 Kentucky v. King, 563 U.S. 452, 459 (2011). To determine whether probable cause exists to

 support a search warrant, “[t]he issuing judicial officer must ‘make a practical, common-sense

 decision whether, given all the circumstances set forth in the affidavit before him, including the

 veracity and basis of knowledge of persons supplying hearsay information, there is a fair

 probability that contraband or evidence of a crime will be found in a particular place.’” United

 States v. Wagner, 989 F.2d 69, 72 (2d Cir. 1993) (quoting Illinois v. Gates, 462 U.S. 213, 238

 (1983)). A warrant is sufficiently “particular” if it (1) “identif[ies] the specific offense for which

 the police have established probable cause,” (2) “describe[s] the place to be searched,” and (3)

 “specif[ies] the items to be seized by their relation to designated crimes.” United States v.

 Galpin, 720 F.3d 436, 445–46 (2d Cir. 2013). “[A]n otherwise unobjectionable description of

 the objects to be seized is defective if it is broader than can be justified by the probable cause

 upon which the warrant is based.” Id. at 446.

        “Despite their frequent conflation, ‘[over]breadth and particularity are related but distinct

 concepts.” United States v. Shipp, 392 F. Supp. 3d 300, 307 (E.D.N.Y. 2019) (quoting United

 States v. Ulbricht, 858 F.3d 71, 102 (2d Cir. 2017), cert. denied, 585 U.S. 1033 (2018)). “A

 warrant may be broad, in that it authorizes the government to search an identified location or

 object for a wide range of potentially relevant material, without violating the particularity




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 requirement.” Id. (quoting Ulbricht, 858 F.3d at 102). Similarly, “[w]hen the criminal activity

 pervades [an] entire business, seizure of all records of the business is appropriate, and broad

 language used in warrants will not offend the particularity requirements.” Ulbricht, 858 F.3d at

 102. “In determining whether a warrant is overbroad, courts must focus on ‘whether there exists

 probable cause to support the breadth of the search that was authorized.’” Shipp, 329 F. Supp.

 3d at 307 (quoting United States v. Zemlyansky, 945 F. Supp. 2d 438, 464 (S.D.N.Y. 2013)).

        A search or seizure pursuant to a warrant is ordinarily presumed valid. United States v.

 Awadallah, 349 F.3d 42, 64 (2d Cir. 2003). “A magistrate’s determination of probable cause” —

 whether probable cause existed to issue the warrant in the first place and whether the scope of

 the warrant comported with probable cause — “should be paid great deference.” Illinois v.

 Gates, 462 U.S. 213, 236 (1983) (citation and quotation marks omitted); see also United States v.

 Dupree, 781 F. Supp. 2d 115, 154 (E.D.N.Y. 2011). That is because the magistrate is in the best

 position to determine whether the underlying affidavit adequately “detailed” the investigation

 and appropriately “credit[ed] the source of the information.” United States v. Ventresca, 380

 U.S. 102, 109 (1965).

        Even if a court determines that a warrant is flawed, suppression is not always appropriate.

 The good faith exception applies “when the agents executing a search warrant ‘act with an

 objectively reasonable good-faith belief that their conduct is lawful.’” United States v. Jones, 43

 F.4th 94, 111 (2d Cir. 2022) (quoting Davis v. United States, 564 U.S. 229, 238 (2011)); see also

 United States v. Leon, 468 U.S. 897, 921–22 (1984) (“[W]hen an officer acting with objective

 good faith has obtained a search warrant from a judge or magistrate and acted within its

 scope, . . . there is [generally] no police illegality and thus nothing to deter.”). The good faith

 exception does not apply where (1) the court “was misled by information in an affidavit that the




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 affiant knew was false or would have known was false except for his reckless disregard of the

 truth;” (2) “where the issuing magistrate wholly abandoned his judicial role;” (3) a warrant was

 based on an affidavit “so lacking in indicia of probable cause as to render official belief in its

 existence entirely unreasonable”; and (4) a warrant is so “facially deficient” that officers “cannot

 reasonably presume it to be valid.” Leon, 468 U.S. at 923.

        Fifth Amendment

        The Fifth Amendment protects a person’s right not to incriminate himself. U.S. Const.

 amend. V (“No person . . . shall be compelled in any criminal case to be a witness against

 himself.”). Criminal defendants are entitled to prophylactic warnings advising them of their

 constitutional rights to protect them “from the ‘inherently compelling pressures’ of custodial

 interrogation.” Maryland v. Shatzer, 559 U.S. 98, 103 (2010) (citing Miranda v. Arizona, 384

 U.S. 436, 467 (1966)). “[I]f the individual indicates ‘that he wishes to remain silent, the

 interrogation must cease.’” United States v. O’Brien, 926 F.3d 57, 73 (2d Cir. 2019) (quoting

 United States v. Medunjanin, 752 F.3d 576, 585 (2d Cir. 2014)). The individual “must assert his

 right affirmatively and unambiguously.” Id. (citing Berghuis v. Thompkins, 560 U.S. 370, 381–

 82 (2010)).

        An “accused’s statement during a custodial interrogation is inadmissible at trial unless the

 prosecution can establish that the accused in fact knowingly and voluntarily waived his . . . rights

 when making the statement.” Id. (quoting Berghuis, 560 U.S. at 382). The waiver “‘must be

 voluntary in the sense that it was the product of a free and deliberate choice rather than

 intimidation, coercion, or deception,’ and must be ‘knowing[]’ in the sense that it was ‘made

 with a full awareness of both the nature of the right being abandoned and the consequences of

 the decision to abandon it.’” Id. (quoting Berghuis, 560 U.S. at 382–83 (emphasis in original)).




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  The prosecution must prove waiver “by a preponderance of the evidence,” and it may be inferred

  “from all the circumstances.” Berghuis, 560 U.S. at 384.

          The Fifth Amendment’s Due Process Clause also protects “the right not to be the object

  of suggestive police identification procedures that create a very substantial likelihood of

  irreparable misidentification.” United States v. Concepcion, 983 F.2d 369, 377 (2d Cir. 1992).

  “‘[T]he linchpin in determining the admissibility of identification testimony’ is reliability.”

  United States v. Diaz, 986 F.3d 202, 207 (2d Cir. 2021) (quoting Manson v. Brathwaite, 432 U.S.

  98, 114 (1977)). “If the procedures used to obtain an identification are unduly suggestive, ‘due

  process requires that the identification testimony be excluded unless a threshold level of

  reliability can be established through evidence that is independent of the suggestive procedure.”

  Id. (citation omitted).

          The first inquiry is “whether the pretrial identification procedures unduly and

  unnecessarily suggested that the defendant was the perpetrator.” Raheem v. Kelly, 257 F.3d 122,

  133 (2d Cir. 2001). “[I]dentification procedures are unduly suggestive when they involve

  coercive elements employed to elicit a specific identification.” United States v. Al-Farekh, 956

  F.3d 99, 111 (2d Cir. 2020). However, “[e]ven if an identification is improperly suggestive, ‘the

  witness’s identification of the suspect . . . is still admissible if the identification has independent

  reliability.’” Diaz, 986 F.3d at 207 (quoting United States v. Eltayib, 88 F.3d 157, 167 (2d Cir.

  1996)). Courts evaluate the “totality of the circumstances” to determine whether identification

  evidence is admissible: “(1) the witness’s opportunity to view the criminal at the time of the

  crime, (2) the witness’s degree of attention, (3) the accuracy of the witness’s prior description of

  the criminal, (4) the level of certainty demonstrated by the witness at confrontation, and (5) the




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  length of time between the crime and the confrontation.” United States v. Reed, 570 F. App’x

  104, 109 (2d Cir. 2014) (quoting Neil v. Biggers, 409 U.S. 188, 199–200 (1972)).

         Sixth Amendment

         The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall

  enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend. VI.

  The right to counsel attaches only once “adversarial proceedings” have been “commenced

  against an individual, ‘whether by way of formal charge, preliminary hearing, indictment,

  information, or arraignment.’” United States v. Vasquez, 675 F.2d 16, 17 (2d Cir. 1982) (quoting

  Brewer v. Williams, 430 U.S. 387, 398 (1977)). The right is “offense specific,” which means

  that it “cannot be invoked for all future prosecutions.” United States v. Ying Lin, No. 15-CR-

  601, 2018 U.S. Dist. LEXIS 115764, at *20 (E.D.N.Y. July 11, 2018) (quoting McNeil v.

  Wisconsin, 501 U.S. 171, 175 (1991)). Rather, the right to counsel attaches only to conduct that

  is the “same offense” as the charged conduct; it does not attach to uncharged crimes that are

  “factually related” to or “inextricably intertwined with” the charged offense. Id. (quoting Texas

  v. Cobb, 532 U.S. 162, 172 (2001)); see also United States v. Moore, 670 F.3d 222, 236 (2d Cir.

  2012) (holding that a defendant did not have a Sixth Amendment right to counsel because “the

  Sixth Amendment is offense specific”). Like the Fifth Amendment right against self-

  incrimination, a defendant may waive his right to counsel, as long as the waiver is “voluntary,

  knowing, and intelligent.” Montejo v. Louisiana, 556 U.S. 778, 786 (2009).

                                            DISCUSSION

         Statements to Law Enforcement

         The government asserts that it “does not anticipate seeking to introduce [the August 2019

  or the November 2024 statements] in its case-in-chief at trial,” but “reserves the right to use




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  these statements if the defendant opens the door by testifying falsely or inconsistently at

  trial . . . .” (ECF No. 33 at 16.) Accordingly, the defendant’s motion to suppress the August 14,

  2019 and November 21, 2024 statements is denied as moot. See United States v. Robinson, No.

  16-CR-545, 2017 U.S. Dist. LEXIS 182889, at *7–8 (E.D.N.Y. Nov. 1, 2017) (“The Government

  states that it ‘does not intend to introduce [the defendant’s] statements . . . in its case-in-

  chief’ . . . [a]ccordingly, the [d]efendant’s motion to suppress the . . . statements is denied as

  moot.”); United States v. Mouzon, No. 16-CR-284, 2016 U.S. Dist. LEXIS 177819, at *1 n.1

  (S.D.N.Y. Dec. 2, 2016) (same).

            The defendant moves to suppress his September 11, 2020 statement, claiming that agents

  took it in violation of his right to counsel. Specifically, the defendant argues that his right to

  counsel attached at his August 26, 2020 arraignment in Kings County Criminal Court, when he

  was appointed counsel for the state gun case; the defendant reasons that he was “entitled to have

  his counsel present” for any subsequent interviews with law enforcement, including with federal

  agents. (ECF No. 32-1 at 6 (citing Montejo v. Louisiana, 556 U.S. 778, 786 (2009)).) The

  defendant acknowledges that the right to counsel “is not absolute,” but says that the government

  has not demonstrated that he “voluntarily, knowingly, and intelligently waived his right to

  counsel.” (Id. at 7.) 10 The government responds that the defendant’s representation in the state

  proceeding “did not extend to the federal proceeding, and the right to counsel had not yet

  attached in the federal case” on September 11, 2020. (ECF No. 33 at 17.) In any event, the

  government says, the defendant “properly waived that right when he agreed to speak to federal

  law enforcement agents” after they informed him of his constitutional rights. (Id.)



  10
       The defendant does not argue that the September 11, 2020 statement should be suppressed on Fifth
       Amendment grounds. (See ECF No. 32-1 at 6–7.)


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         The defendant is not entitled to a hearing on his motion because he has not established a

  factual dispute about whether he waived his right to counsel. “An evidentiary hearing is

  normally required in motions to suppress where a factual issue,” such as whether the defendant

  properly waived his right to counsel, “is in dispute.” United States v. Lopez, No. 05-CR-655,

  2006 U.S. Dist. LEXIS 28631, at *7 (E.D.N.Y. Mar. 31, 2006) (quoting United States v. Cortez,

  No. 05-CR-55, 2005 U.S. Dist. LEXIS 26174, at *5 (S.D.N.Y. Oct. 27, 2005)). The defendant

  must show that a disputed factual issue exists by “submit[ting] sworn factual allegations from an

  individual with personal knowledge.” United States v. Townsend, No. 15-CR-653, 2016 U.S.

  Dist. LEXIS 82174, at *4 (E.D.N.Y. 2016) (collecting cases); see also, e.g., Lopez, 2006 U.S.

  Dist. LEXIS 28631, at *8 (“[T]o create a factual dispute, defendant must submit sworn factual

  allegations from an affiant with personal knowledge.” (quoting United States v. Fruchter, 104 F.

  Supp. 2d 289, 308 (S.D.N.Y. 2000))). “Courts have made clear that attorney affidavits are

  insufficient to warrant a hearing.” United States v. Shaw, 260 F. Supp. 2d 567, 570 (E.D.N.Y.

  2003) (collecting cases); see also United States v. Gillette, 383 F.2d 843, 848–49 (2d Cir. 1967)

  (attorney’s statement did not raise factual issue absent allegation of personal knowledge).

          In this case, the defendant did not submit an affidavit based on personal knowledge

  addressing whether he waived his waived his right to counsel, assuming that the right to counsel

  had attached based on the proceedings in Brooklyn Criminal Court. Accordingly, defense

  counsel’s declaration is insufficient to create a factual dispute about whether there was a waiver,

  and the motion must be denied. See, e.g., United States v. Bell, No. 23-CR-212, 2024 U.S. Dist.

  LEXIS 40888, at *13–14 (S.D.N.Y. Mar. 8, 2024) (denying the defendant’s request for an

  evidentiary hearing and motion to suppress statements where he had not “submitted a sworn




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  affidavit establishing a question of fact as to whether he knowingly, intelligently, and voluntarily

  waived his Miranda rights, and instead relie[d] solely on unsworn arguments by his attorney”). 11

            Out-of-Court Identifications

            The defendant also moves to suppress the witnesses’ identifications, claiming that

  procedures were unreliable, suggestive and coercive. The defendant argues that the agents and

  prosecutors “believed that the witness[es] . . . [were] lying when they could not identify [the

  defendant] in the video shown to them,” the witnesses knew that the defendant’s brother was

  arrested and indicted for the same murder and that the agents or prosecutors “believed that [the

  defendant] had committed the murder,” and that the surveillance videos were equivalent to the

  “‘widely condemned’ use of show-up identifications.” (ECF No. 32-1 at 8–9 (quoting Stovall v.

  Denno, 388 U.S. 293, 302 (1967)).

             The identifications at issue in this case are not like the classic eyewitness identification

  scenario, in which a witness identifies a stranger; rather, they are “confirmatory identification[s]”

  by witnesses who know the defendant independently. United States v. Stephenson, No. 20-CR-

  511, 2021 U.S. Dist. LEXIS 206467, at *11 (E.D.N.Y. Oct. 26, 2021); see United States v.

  Wade, 388 U.S. 218, 235–37 (1967) (discussing “the dangers inherent in eyewitness

  identification and the suggestibility inherent in the context of the pretrial identification”).

            There is no material factual dispute about the identification procedures employed here.

  As explained above, the defense did not submit an affidavit based on personal knowledge that

  there was anything unduly suggestive about the circumstances under which the witnesses

  identified the defendant. Moreover, it is clear from the parties’ submissions that the


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       Because there is no factual dispute as to whether the defendant’s waiver was voluntary, the Court does
       not address whether the defendant’s right to counsel for the felon-in-possession charge attached when
       he was arraigned on the state gun charges.


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  identifications — by one of the defendant’s relatives, an acquaintance of over 10 years, and a

  friend and former romantic partner — were “independently reliable.” Stephenson, 2021 U.S.

  Dist. LEXIS 206467, at *11; see also, e.g., Kelly v. Lee, No. 11-CV-3903, 2014 U.S. Dist.

  LEXIS 132972, at *27–28 (E.D.N.Y. Sept. 22, 2014) (finding pretrial identification

  “independently reliable” where identification was made by someone previously familiar with the

  defendant); United States v. Estupinian-Jamarillo, No. 08-CR-320, 2009 U.S. Dist. LEXIS

  88107, at *5 (S.D.N.Y. 2009) (finding pretrial out-of-court identification was independently

  reliable because the witness had known the defendant since childhood (citing United States v.

  Maldonado-Rivera, 922 F.2d 934, 973 (2d Cir. 1990))); United States v. Crumble, No. 18-CR-

  32, 2018 U.S. Dist. LEXIS 61581, at *4–5 (E.D.N.Y. 2018) (same, where the witness had known

  the defendant for eight years). The motion to suppress as well as the request for an evidentiary

  hearing on the out-of-court identifications are therefore denied. United States v. Sosa, No. 17-

  CR-580, 2018 U.S. Dist. LEXIS 158170, at *8 (S.D.N.Y. Sept. 12, 2018) (“[T]here is no per se

  rule requiring a Wade hearing to determine the admissibility of identification evidence, and

  where the government makes a sufficient showing that the identification is independently

  reliable, motions for pre-trial Wade hearings should be denied.” (citing United States v.

  Archibald, 734 F.2d 938, 940 (2d Cir. 1984))).

         Search Warrant

         Judge Pollak signed search warrants authorizing the government to search Subject

  Account-11 and Subject Account-17 — the defendant’s Facebook and Instagram accounts — for

  “evidence, fruits, and instrumentalities” of violations of certain federal law offenses. (ECF No.

  33-2.) The warrant time limited disclosure of information on Subject Account-11 from May 17,




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  2017 through January 7, 2021 and Subject Account-17 from June 29, 2020 through January 7,

  2021. (Id. at 4–7, 12–15.)

         The defendant argues that the Facebook and Instagram evidence must be suppressed.

  The defendant claims that the warrant was overbroad; according to the defendant, the supporting

  affidavit established probable cause for only a “narrow category of evidence,” but that the

  warrant improperly authorized the disclosure of “all evidence” Facebook had “for both

  accounts.” (ECF No. 32-1 at 9–10.) The defendant says that the affidavit “provided information

  that evidence of certain offenses would be found in [Facebook] audio calls[,] Facebook posts,”

  and Instagram “profile pages and posts,” but the warrant directed Facebook to disclose data from

  16 broad categories of information. (Id. at 5; see ECF No. 33-2 at 6–7, 13–15.) The government

  responds that the warrant was sufficiently particularized, limited by specific, relevant date

  ranges, and tailored to the subject offenses. (ECF No. 33 at 33–38; see ECF No. 33-2 at 8–9,

  16.)

         “A general search of electronic data is an especially potent threat to privacy because hard

  drives and e-mail accounts may be ‘akin to a residence in terms of the scope and quantity of

  private information [they] may contain.’” United States v. Shipp, 392 F. Supp. 3d 300, 307

  (E.D.N.Y. 2019) (quoting Galpin, 720 F.3d at 445); see also Galpin, 720 F.3d at 447 (explaining

  that “[t]his threat demands a heightened sensitivity to the particularity requirement in the context

  of digital searches”). “This threat is further elevated in a search of Facebook data because,

  perhaps more than any other location — including a residence, a computer hard drive, or a

  car — Facebook provides a single window through which almost every detail of a person’s life is

  visible.” Shipp, 392 F. Supp. 3d at 308; cf. Riley v. California, 573 U.S. 373, 394 (2014) (“The




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  sum of an individual’s private life can be reconstructed [through the contents of a cell phone]

  through a thousand photographs labeled with dates, locations, and descriptions.”).

         Courts in this Circuit have upheld social media warrants like the warrant at issue here,

  “recogniz[ing] the inherent difficulty with ‘digital media searches.’” United States v. Qing Ming

  Yu, No. 22-CR-208, 2023 U.S. Dist. LEXIS 126229, at *54–55 (July 20, 2023) (upholding a

  search warrant that required Instagram to “provide broad categories of information from August

  1, 2018 to the date of the warrant” and “permitt[ed] the government to seize a narrower set of

  information tailored to the crimes specified”); see also, e.g., id. at *55 (collecting cases).

  Although the warrant application established probable cause to believe that relevant evidence

  could be found in particular features of the of the Subject Accounts, “[i]t is well-established that

  a search warrant can properly permit the [g]overnment to obtain access to electronic information

  for purposes of a search even where the probable cause showing does not apply to the entirety of

  the electronic information that is disclosed to the government.” United States v. Liburd, No. 17-

  CR-296, 2018 U.S. Dist. LEXIS 94440, at *8 (E.D.N.Y. June 5, 2018) (citation omitted).

  Indeed, courts have upheld broader social media warrants than the one at issue here, which has

  time and date parameters. See Qing Ming, 2023 U.S. Dist. LEXIS 126229, at *56; cf. United

  States v. Westley, No. 17-CR-171, 2018 U.S. Dist. LEXIS 118571, at *48–49 (D. Conn. July 17,

  2018) (noting that it may be “difficult to craft date restrictions for certain [social media] content

  for which the affidavits plainly establish probable cause”).

         The defendant cites Shipp and out-of-circuit opinions (ECF No. 32-1 at 11–13) for the

  proposition that “Facebook warrants of the kind at issue here unnecessarily ‘authorize precisely

  the type of exploratory rummaging the Fourth Amendment protects against.’” Shipp, 392 F.

  Supp. 3d at 311 (quoting United States v. Bradbury, No. 14-CR-71, 2015 U.S. Dist. LEXIS




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  76849, at *9 (N.D. Ind. June 15, 2015)). In Shipp, the court observed that “the format of the

  Facebook [warrant] — an enumerated list of sixteen different categories of information

  associated with the account — suggests the organized nature of data associated with a Facebook

  account,” and “provides support for [the] contention that the search authorized by the [warrant]

  could have been more clearly defined . . . and limited to the categories of information associated

  with the Facebook account in which there was probable cause to believe that such evidence

  might be found.” Id.; see also, e.g., United States v. Hamilton, No. 18-CR-57, 2019 U.S. Dist.

  LEXIS 159077, at *14 (E.D. Ky. Aug. 30, 2019) (“[T]here was no suggestion” in the affidavit

  supporting the search warrant that the defendant “bought or sold drugs through Facebook

  Marketplace,” or that evidence could be found in a search of the defendant’s “‘gifts,’ ‘pokes,’ all

  Facebook searches performed, all groups [the defendant] is in, his rejected ‘friend’ requests, his

  ‘friends’ list user identification numbers, [or] his ‘check ins;’” thus, “law enforcement was

  unlikely to find evidence of that crime in reviewing [those features].”) As explained above,

  however, the warrant in this case was sufficiently particularized and limited to relevant time

  periods.

         The government argues that in any event the good faith exception applies, which is what

  most of the courts in the cases that the defendant cites, including Shipp and Hamilton, ultimately

  decided. (ECF No. 33 at 38–41; see also ECF No. 32-1 at 12.) In this case, the defendant does

  not allege that TFO Grzelak lied in the affidavit or misled Judge Pollak into issuing the warrant.

  And while the defendant asserts that the government cannot rely on the good faith exception in

  light of the precedent that the defendant cites (ECF No. 35 at 9), “the constitutionality of a broad

  social media search warrant remains a developing area of the law, and the Second Circuit has not

  yet decided this issue,” Qing Ming Yu, 2023 U.S. Dist. LEXIS 126229, at *57–58; see also




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  Westley, 2018 U.S. Dist. LEXIS 118571, at *51 (“[T]he application of search warrants to

  Facebook accounts is a relatively new area of the law.”); United States v. Blake, 868 F.3d 960,

  975 (11th Cir. 2017) (describing the issue as “not an open and shut matter” and a “close enough

  question” such that the officers could reasonably rely on the warrants); Shipp, 392 F. Supp. 3d at

  312 (“The [warrant affidavit] articulated probable cause to search at least certain categories of

  information or services associated with the Facebook account, and as the [g]overnment notes,

  other district courts have declined to suppress evidence obtained pursuant to facially similar

  warrants.”). But see United States v. Irving, 347 F. Supp. 3d 615, 624–26 (D. Kan. 2018)

  (invalidating the Facebook warrant and declining to apply good faith).

         For these reasons, the defendant’s motion to suppress evidence recovered from the

  searches of Subject Accounts 11 and 17 is denied.

                                           CONCLUSION

         For these reasons, the defendant’s motion is denied.



  SO ORDERED.
                                                           s/Ann M. Donnelly
                                                        ___________________________
                                                        ANN M. DONNELLY
                                                        United States District Judge


  Dated: Brooklyn, New York
         February 27, 2025




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